Filed 07/14/16                                          Case 15-14228                                                      Doc 115
   Michael H. Meyer, Esq. #82336
   Chapter 13 Standing Trustee
   P.O. Box 28950
   Fresno, CA 93729-8950
   Phone: (559) 275-9512 Fax: (559) 275-9518
                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF CALIFORNIA

   IN RE:
                                                                  CASE NO: 15-14228-B-13F
   OSCAR GUTIERREZ
                                                                  CHAPTER 13 PROCEEDING
                                                                  PROOF OF SERVICE BY MAIL

   Debtor(s)                                                      JUDGE: Rene Lastreto II

  STATE OF CALIFORNIA, COUNTY OF FRESNO
  I am employed in the County of Fresno, State of California. I am over the age of eighteen years and not a party to the
  within action. My business address is PO Box 28950, Fresno, CA 93729-8950.
  On the date below I served the following documents described as:
                                              NOTICE OF FILED CLAIMS
  I served the above documents on the interested parties by placing a true and correct copy thereof in a sealed envelope
  with the Tusteeeship's mail room personnel for affixing a fully prepaid postage and mailing in the United States mail
  at Fresno, California in accordance with Trusteeship's ordinary practices, addressed as set forth below:
        OSCAR GUTIERREZ
        211 CENTER STREET
        ORANGE COVE, CA 93646


        GLEN E GATES
        PASCUZZI PASCUZZI & STOKER
        2377 W SHAW AVE STE 101
        FRESNO, CA 93711


  I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge and belief. This
  declaration was executed on 07/14/2016 at Fresno, California.
                                                 /s/Youa Vang
                                                 Youa Vang




     0063-1M-EPIB1MCT-00127380-428256
